Case 1:19-cv-01508-MN Document 303 Filed 03/25/22 Page 1 of 4 PageID #: 22093




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

    PUREWICK CORPORATION,                         )
                                                  )
                Plaintiff,                        )
                                                  )
         v.                                       )   C.A. No. 19-1508 (MN)
                                                  )
    SAGE PRODUCTS, LLC,                           )
                                                  )
                Defendant.                        )
                                                  )

                        ORDER AFTER PRETRIAL CONFERENCE

        AND NOW, this 25th day of March 2022, after a Pretrial Conference and upon

consideration of the Proposed Pretrial Order (D.I. 286) and the discussion at the March 21, 2022

Pretrial Conference (D.I. 296), IT IS HEREBY ORDERED that:

        1.     The Proposed Pretrial Order is ADOPTED as modified by any discussion at the

Pretrial Conference.

        2.     A five-day jury trial will begin on March 28, 2022 at 9:30 a.m. with jury selection.

Subsequent trial days will begin at 9:00 a.m. Each side should be prepared to present its case until

4:30-4:45 p.m. each trial day, although the end of the trial day may, at the discretion of the Court,

be earlier or later than 4:30-4:45 p.m.

        3.     The trial will be timed. Each side is allowed up to eleven (11) hours for its opening

statement, its direct and cross-examination of witnesses, and argument of evidentiary issues. Each

side is allowed up to one (1) additional hour for closing arguments. 1 Time during the trial day that




1
        At Defendant’s request, the Court is allocating to each party an additional hour for
        presentation of evidence.
Case 1:19-cv-01508-MN Document 303 Filed 03/25/22 Page 2 of 4 PageID #: 22094




does not neatly fit into one of the stated categories will be attributed to one side or the other as the

Court deems appropriate.

        4.      Issues that need to be addressed outside the presence of the jury will be taken up at

8:15 a.m., at the lunch break, at the end of the day, or at such other time that the Court determines.

Those issues – including objections to anticipated exhibits or demonstratives – must be brought to

the attention of the Court’s judicial administrator by 7:00 a.m. on the day on which the evidence

objected to will be adduced. There will be thirty to forty-five minutes for lunch and a fifteen-

minute break in the morning and in the afternoon.

        5.      Each side may have no more than six (6) people in the courtroom at any given time.

In its discretion, the Court may modify these limitations at any time or impose additional

restrictions to ensure the safety of court personnel, the jury, and all persons attending trial.

        6.      For the reasons stated at the Pretrial Conference, Plaintiff’s Motion in Limine No. 1

(D.I. 286, Schedule F1) is GRANTED, 2 Plaintiff’s Motion in Limine No. 2 (D.I. 286, Schedule

F2) is GRANTED WITHOUT PREJUDICE, 3 Plaintiff’s Motion in Limine No. 3 (D.I. 286,



2
        As explained at the Pretrial Conference, Defendant is precluded from relying on evidence
        or argument that Sage’s patents relate to the accused products in this litigation.
3
        As explained at the Pretrial Conference, Defendant cannot rely on the PTAB’s finding of
        unpatentability in the final written decision for U.S. Patent No. 8,287,508 (“the ’508
        Patent”) to support its assertion that prior art invalidates the asserted patents in this
        litigation. Because this motion is granted without prejudice, Defendant may again request
        to introduce the PTAB’s findings at trial if Defendant believes there is a situation where
        these findings should be admitted. Any requests shall be outside the presence of the jury.
        With this decision, however, the Court is not prohibiting Defendant from relying on
        specific statements made by Plaintiff or its experts in the PTAB proceeding to impeach
        contrary statements made during the trial. If impeachment under these circumstances were
        to occur, Defendant cannot refer to the ’508 Patent’s IPR proceeding directly and instead
        must refer to any contrary statements “as being related to ‘another matter,’ without
        disclosing the nature, details, or results of the IPR[.]” Pac. Biosciences of California, Inc.
        v. Oxford Nanopore Techs., Inc., No. CV 17-1353-LPS-CJB, 2020 WL 954938, at *2
        (D. Del. Feb. 27, 2020).


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Case 1:19-cv-01508-MN Document 303 Filed 03/25/22 Page 3 of 4 PageID #: 22095




Schedule F3) is DENIED-AS-MOOT, Defendant’s Motion in Limine No. 1 (D.I. 286, Schedule

F4) is GRANTED-IN-PART, 4 and Defendant’s Motion in Limine No. 2 (D.I. 286, Schedule F5)

is GRANTED-IN-PART. 5

       7.      As explained at the Pretrial Conference, the parties may not provide witness binders

or physical copies of documents (demonstratives, deposition transcripts, etc.) to the Court (but

must do so for the witnesses). As instructed at the Pretrial Conference, the parties have provided

electronic copies of ALL trial exhibits to the Courtroom Deputy and the Judicial Administrator.

The trial exhibits must be labeled with JTX, DTX or PTX prefixes with exhibit numbers, and the

trial exhibits must be organized in a single folder. Additionally, at the beginning of each trial day,

the parties shall provide to the Courtroom Deputy and the Judicial Administrator electronic copies

of witness folders containing the exhibits and demonstratives (if any) to be used on direct

examination and cross-examination of any witnesses expected to be called that day.

       8.      At the Pretrial Conference, Plaintiff raised the issue of what Defendant’s references

to “brown tape product(s)” means. It is apparent from arguments previously made, deposition

testimony submitted, and Defendant’s Exhibit 488 handed to the Court during the Pretrial

Conference that there were different versions or prototypes of the “brown tape product” over time.




4
       As explained at the Pretrial Conference, Plaintiff cannot rely on comparisons between the
       accused products and Plaintiff’s product or the figures from the asserted patents to prove
       infringement. The Court finds, however, that Plaintiff may be able to rely on these
       comparisons for other issues, such as copying and lost profits. If a situation arises at trial
       where a comparison may be appropriate, Plaintiff must request the Court’s permission to
       make that comparison outside the presence of the jury.
5
       As explained at the Pretrial Conference, Plaintiff cannot argue that Defendant breached the
       confidentiality agreement. The Plaintiff is not precluded, however, from relying on the
       existence of the confidentiality agreement or the information conveyed as part of the
       confidentiality agreement because this evidence may be relevant to Plaintiff’s willful
       infringement and copying claims.


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Case 1:19-cv-01508-MN Document 303 Filed 03/25/22 Page 4 of 4 PageID #: 22096




Thus, the Court instructed Defendant that it may not generally group together or reference

unspecified products as the “brown tape product.” It was, however, agreed that Defendant may

assert that a particular brown tape product – the one provided to CONNECT (as depicted in the

CONNECT video) – is prior art to the asserted claims. The Court asked for additional submissions

about the “brown tape product(s)” used by DD, and Defendant provided that information on

March 23, 2022. (D.I. 300). Having reviewed the materials submitted and again it being clear that

multiple versions of the “brown tape product(s)” existed over time, Defendant may argue that one

or more of the versions of products used by DD are invalidating prior art. To the extent that

Defendant asserts that any given product (version) used by DD is prior art and is covered by the

asserted claims, it must establish that that product (version) alone meets all the claim limitations.

Defendant, however, may not use Plaintiff’s response to Interrogatory No. 6 as a purported

admission that any particular brown tape product (version) before “approximately September

2015” is covered by the claims without prior permission from the Court. 6

       9.      Any trial logistics should be coordinated through the Courtroom Deputy.




                                                      The Honorable Maryellen Noreika
                                                      United States District Judge




6
       There is no admission in the response to Interrogatory No. 6 that any product (version)
       prior to “approximately September 2015” is covered by the asserted claims. Thus, in light
       of the multiple versions of the “brown tape products,” the Court finds that use of the
       response to Interrogatory No. 6 as a purported admission that any earlier product(s)
       (version(s)) are covered by the claims without evidence that the earlier product(s)
       (version(s)) and the “brown tape wick” referenced in the interrogatory response are the
       same would be confusing to the jury and prejudicial to Plaintiff.


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